                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

    UNITED STATES OF AMERICA

    v.                                              Case No. 8:20-cr-165-MSS-AAS

    EDWARD CHRISTOPHER WHITE, JR.

            UNITED STATES’ UNOPPOSED 1 AMENDED 2 MOTION
            FOR AN ORDER OF FORFEITURE AND PRELIMINARY
               ORDER OF FORFEITURE FOR DIRECT ASSETS

         Pursuant to 18 U.S.C. § 982(a)(7) and Rule 32.2(b)(2) of the Federal Rules of

Criminal Procedure, the United States of America moves for an order of forfeiture

against the defendant in the amount of $33,321,712, representing the amount of

proceeds the defendant personally obtained from his participation in the conspiracy

and that the following assets represent or were funded with proceeds of the offenses

as charged in Counts One and Two of the Superseding Information, as well as

forfeiture of the following assets:

               a.     The real property located at 22020 Front Beach Rd, Unit 2,
                      Panama City Beach, Florida 32413, including all improvements
                      thereon and appurtenances thereto, the legal description for
                      which is as follows:

                      UNIT 2: COMMENCE at the Northeast corner of Lot 10, Block
                      5, Kiska Beach Subdivision, according to the Plat thereof, as
                      recorded in Plat Book 3, Page 24, of the Public Records of Bay

1
 On January 27, 2023, the United States discussed this motion with defense counsel, who
advised that the defendant has no objection to the relief sought in this motion.
2
 This amendment pertains to the Cessna aircraft listed in subsection C, which has since
been sold with the defendant’s agreement for $280,000. Accordingly, the United States now
seeks to forfeit the funds obtained pursuant to the sale in lieu of the aircraft.
                     County, Florida; thence S23 degrees, 22'32"W, along the East
                     line of said lot, a distance of 125.15 feet to the Southeast corner
                     of said lot; thence N66 degrees 28'49"W, along the South line of
                     said lot, a distance of 50.14 feet to the Northeast corner of Lot
                     16, of said Block 5; thence S23 degrees 20'24"W, along the East
                     line of said Lot 16, a distance of 16.47 feet; thence leaving said
                     East line, N66 degrees 39'36"W, a distance of 9.35 feet; thence
                     N66 degrees 48'00"W, a distance of 22.25 feet; thence S23
                     degrees 46'36"W, a distance of 8.04 feet; thence N66 degrees
                     43'50"W, a distance of 18.78 feet to the POINT OF
                     BEGINNING; thence continue N66 degrees 43'50"W, a distance
                     of 18.62 feet; thence N23 degrees 18'04"E, a distance of 7.99 feet;
                     thence N66 degrees 37'29"W, a distance of 1.00 feet; thence S23
                     degrees 45'08"W, a distance of 76.03 feet; thence S66 degrees
                     44'11”E, a distance of 20.25 feet; thence N23 degrees 15'49"E, a
                     distance of 68.04 feet to the POINT OF BEGINNING. Said
                     parcel is a part of Lot 17, Block 5, of said Kiska Beach
                     Subdivision.

                     Parcel Identification No. 36015-000-015.

                     Titled Owner: Chris White;

              b.     The real property located at 3232 Magnolia Islands Blvd,
                     Panama City Beach, Florida 32408, including all improvements
                     thereon and appurtenances thereto, the legal description for
                     which is as follows:

                     Lot 181 and 182, The Preserve on the Bay Phase IV-A, according to
                     the map or plat thereof, as recorded in Plat Book 19, Page 6 of the
                     Public Records of Bay County, Florida.

                     Parcel Identification No. 31365-860-000.

                     Titled Owner: The Edward Christopher White, Jr. Family
                     Protection Trust, Dated July 24, 2019;

              c.     $280,000 in lieu of the 1986 3 Cessna Citation SII S550 aircraft,
                     Serial Number S550-0111, Tail Number Nl7LP;


3
 This amendment further corrects a scrivener’s error of the year of the Cessna Citation
aircraft from 1985 to 1986.
                                            2
d.   2018 Range Rover, VIN: SALWZ2SE4JA184013;

e.   2019 Mercedes-Benz Sprinter Van, VIN:
     WDAPF1CDXKP051312;

f.   Approximately $5,312.95 seized from Centennial Bank account
     number 503081134, held in the name of White Hewitt-Air Corp;

g.   Approximately $124,280.34 seized from Centennial Bank
     account number 503088255, held in the name of Christopher
     White and Brian Moore;

h.   Approximately $1,197.00 seized from Centennial Bank account
     number 503182370, held in the name of D.A.R.C. LLC dba
     D.A.R.C. Enterprises;

i.   Approximately $1,910.42 seized from Centennial Bank account
     number 503182119, held in the name of White Medical LLC;

j.   Approximately $9,742.69 seized from Centennial Bank account
     number 503182905, held in the name of White Oil & Gas LLC;

k.   Approximately $902.81 seized from Centennial Bank account
     number 503182348, held in the name of Whitewater Consulting
     LLC;

l.   Approximately $603,818.00 seized from Regions Bank account
     number 0263433532, held in the name of The Edward
     Christopher White, Jr. Family Protection Trust; and

m.   Approximately $580,255.00 seized form Pinnacle Bank account
     number 800105121305, held in the name of The Edward
     Christopher White, Jr. Family Protection Trust.




                         3
                              MEMORANDUM OF LAW

I.     Statement of Facts

       A.       Allegations Against the Defendant

       1.       The defendant was charged in a Superseding Information with

conspiracy to defraud the United States and to pay and receive kickbacks, in

violation of 18 U.S.C. § 371 (Count One), and receipt of kickbacks, in violation of 42

U.S.C. § 1320a-7b(b)(1) (Count Two). Doc. 126.

       2.       The Superseding Information also contained forfeiture allegations

putting the defendant on notice that, pursuant to 18 U.S.C. § 982(a)(7), the United

States would seek an order of forfeiture in the amount $33,321,712, which represents

the amount of proceeds obtained from the offenses, and the assets identified above.

Id. at 20-23.

       B.       Finding of Guilt and Admissions Related to Forfeiture

       3.       On October 14, 2021, the defendant pleaded guilty to Counts One and

Two of the Superseding Information before United States Magistrate Judge Amanda

Arnold Sansone, who recommended that his plea be accepted. Docs. 147, 149. On

November 5, 2021, United States District Judge Mary S. Scriven accepted his plea

and adjudicated him guilty. Doc. 171. The defendant’s sentencing is currently

scheduled for January 13, 2022.

       4.       In his Plea Agreement, the defendant specifically agreed to immediately

and voluntarily forfeit $33,321,712 in proceeds he obtained as a result of the

                                            4
commission of the offenses to which he is pleading, and forfeiture of the assets

identified above which assets represent or were funded by proceeds of the offenses

charged in Counts One and Two of the Superseding Information. Doc. 128 at 10-11.

Moreover, the defendant also agreed that since the criminal proceeds have been

transferred to third parties and cannot be located by the United States upon the

exercise of due diligence, the preliminary and final orders of forfeiture should

authorize the United States Attorney’s Office to conduct discovery (including

depositions, interrogatories, requests for production of documents, and the issuance

of subpoenas), pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal

Procedure, to help identify, locate, and forfeit substitute assets. Id. at 12.

       C.     Admissions of Fact

       5.     In the Factual Basis of his Plea Agreement (Doc. 128 at 21-30), the

defendant admitted that he, along with his co-conspirators, conspired to defraud the

United States and commit offenses against the United States, that is, soliciting and

receiving renumerations, and offering and paying renumerations. Id. The defendant

was an active participant in the conspiracy. Id. The defendant received $33,321,712

in proceeds derived from kickbacks from his role in the offenses. Id.

II.    Applicable Law

       A.     Forfeiture Statute

       In sentencing a person convicted of a conspiracy to defraud the United States

and to pay and receive kickbacks (in violation of 18 U.S.C. § 371) (Count One), and

                                             5
receipt of kickbacks (42 U.S.C. § 1320a-7b(b)(1)) (Count Two), the Court's authority

to enter an order of forfeiture against a defendant and to forfeit specific assets is

found in 18 U.S.C. § 982(a)(7) and Federal Rule of Criminal Procedure 32.2. The

United States may criminally forfeit, pursuant to 18 U.S.C. § 982(a)(7), any property,

real or personal, which constitutes or is derived, directly or indirectly, from gross

proceeds traceable to the commission of a health care fraud offenses.

       B.     Court’s Determination of Forfeiture

       Federal Rule of Criminal Procedure 32.2(b)(1) requires that as soon as

practical after a plea of guilty is accepted, the court must determine what property is

subject to forfeiture under the applicable statute. If the government seeks a personal

judgment, the court must determine the amount of money that the defendant will be

ordered to pay. Fed. R. Crim. P. 32.2(b)(1)(A). Where the government seeks

forfeiture of specific assets, the court must determine whether the government has

established the requisite nexus between the property and the offenses. Id.

       In this instance, the United States is seeking both an order of forfeiture in the

amount of $33,321,712 against the defendant and forfeiture of the assets identified

above.

       Because the United States could not locate all of the specific property traceable

to the defendant’s health care fraud offenses, the United States seeks an order of

forfeiture against the defendant in the amount of $33,321,712, pursuant to Federal

Rule of Criminal Procedure 32.2(b)(2). As the defendant has agreed, he personally


                                             6
obtained $33,321,712 in proceeds as a result of the health care fraud offenses. If the

Court finds that the defendant obtained at least $33,321,712 as a result of the offenses

and that the defendant has dissipated those proceeds, then it is appropriate for the

Court to enter an order of forfeiture against the defendant in that amount pursuant to

Rule 32.2(b)(2).

       The United States asserts, and the defendant has admitted, that the assets

identified above were funded by proceeds of the offenses to which the defendant has

plead guilty and are also forfeitable under 18 U.S.C. § 982(a)(7).

III.   Conclusion

       For the reasons stated above, the United States requests that, pursuant to 18

U.S.C. § 982(a)(7), and Rule 32.2(b)(2), the Court enter an order of forfeiture against

the defendant in the amount of $33,321,712 and a Preliminary Order of Forfeiture

for the assets identified above, subject to the provisions of 21 U.S.C. § 853(n). The

net proceeds from the forfeited assets will be credited towards the satisfaction of the

defendant’s order of forfeiture.

       The United States further requests that, because the $33,321,712 in proceeds

was dissipated by the defendant, the United States may seek, as a substitute asset,

pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1), forfeiture

of any of the defendant’s property up to the value of $33,321,712.




                                           7
       The United States further requests that, in accordance with his Plea

Agreement, Doc. 128 at 12, the order of forfeiture become final as to the defendant at

the time it is entered.

       As required by Rule 32.2(b)(4)(B), the United States requests that the Court

include the forfeiture when orally pronouncing the sentence and in the judgment. See

Fed. R. Crim. P. 32.2(b)(4)(B) and United States v. Kennedy, 201 F.3d 1324, 1326

(11th Cir. 2000).

       The United States further requests that the Court retain jurisdiction to address

any third-party claim that may be asserted in these proceedings, to enter any further

order necessary for the forfeiture and disposition of such property, and to order any

substitute assets forfeited to the United States up to the amount of the order of

forfeiture.

                                               Respectfully submitted,

                                               ROGER B. HANDBERG
                                               United States Attorney


                                        By:    s/Mai Tran______________________
                                               MAI TRAN
                                               Assistant United States Attorney
                                               Florida Bar No. 100982
                                               300 N. Hogan Street, Suite 700
                                               Jacksonville, Florida 32202
                                               Telephone: (904) 301-6300
                                               Facsimile: (904) 301-6310
                                               E-Mail: mai.tran2@usdoj.gov




                                           8
                            CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2023, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will send a notice

of electronic filing to counsel of record.



                                                 s/Mai Tran___________________
                                                 MAI TRAN
                                                 Assistant United States Attorney




                                             9
